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  10                            UNITED STATES DISTRICT COURT
  11                          CENTRAL DISTRICT OF CALIFORNIA
  12
       IN RE: NATIONAL FOOTBALL                        Case No. 2:15-ml-02668-PSG (JEMx)
  13   LEAGUE’S “SUNDAY TICKET”
       ANTITRUST LITIGATION                            NON-PARTY DIRECTV, LLC AND
  14                                                   DIRECTV HOLDINGS LLC’S
       THIS DOCUMENT RELATES TO                        STATEMENT REGARDING
  15   ALL ACTIONS                                     PLAINTIFFS’ MOTION TO TAKE
                                                       LIMITED DISCOVERY AFTER
  16                                                   THE DEADLINE FOR FACT
                                                       DISCOVERY
  17
                                                       (DECLARATION OF JEFFREY A.
  18                                                   N. KOPCZYNSKI)
  19                                                   JUDGE: Hon. Philip S. Gutierrez
                                                       DATE: August 19, 2022
  20                                                   TIME: 1:30 p.m.
                                                       COURTROOM: First Street Courthouse
  21                                                   350 West 1st Street
                                                       Courtroom 6A
  22                                                   Los Angeles, CA 90012
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   1          Non-Party DIRECTV, LLC and DIRECTV Holdings LLC (collectively,
   2   “DIRECTV”) submit this statement in response to Plaintiffs’ Motion to Take Limited
   3   Discovery After the Deadline for Fact Discovery, Dkt. No. 545 (“Plaintiffs’ Motion”).
   4   While DIRECTV takes no position on Plaintiffs’ Motion, Plaintiffs’ recitation of events
   5   as it relates to DIRECTV’s discovery efforts contains material omissions and
   6   mischaracterizations.1 DIRECTV believes it important that the Court receive a full
   7   record before deciding Plaintiffs’ motion.
   8          Notably, Plaintiffs have not attached to their motion DIRECTV’s multiple
   9   responses to Plaintiffs’ letters regarding DIRECTV’s privilege log. The letters show
  10   DIRECTV’s cooperative discovery efforts to-date and Plaintiffs’ lack of diligence,
  11   including their repeated refusal to engage in a document-by-document discussion of
  12   DIRECTV’s privilege log, as the law requires. Apple Inc. v. Samsung Elecs. Co., 306 F.R.D.
  13   234, 245 (N.D. Cal. 2015) (the challenging party must “specifically explain why it should
  14   have access to each document”). In this statement, we provide the Court additional
  15   color on the course of events to-date, so that the Court can make a decision based on a
  16   more complete record.
  17          1.      After extensively negotiating the scope of Plaintiffs’ over 100 requests for
  18   production seeking documents from a nearly thirty-year time period and from almost
  19   two dozen custodians, DIRECTV produced almost half a million documents—drawing
  20   from a time period including multiple mergers, a corporate divestment, and this
  21   litigation—and hundreds of terabytes of structured data to Plaintiffs.
  22          2.      The Plaintiffs agreed that DIRECTV would produce its privilege log on
  23   February 18, 2022. Dkt. No. 376. DIRECTV timely produced its log on that date—
  24   nearly six months ago. Of the half million documents, DIRECTV asserted privilege
  25   over only 6 percent of them, totaling approximately 30,000 documents. Kopczynski
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        Plaintiffs’ represent that their Motion is made following conferences with counsel on July 7 and 8,
  28   but DIRECTV did not conference with Plaintiffs on those dates, and did not receive notice of this
       Motion prior to its filing. See Notice of Mot. at 1.
                                                        1
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   1   Decl. ¶ 7. Of those 30,000 documents, DIRECTV produced in redacted form over
   2   8,000 of them. Id.
   3          3.       On March 22, 2022,        Plaintiffs sent a purported deficiency letter
   4   challenging every single entry on DIRECTV’s privilege log and demanding a new,
   5   significantly restructured privilege log within a mere two weeks their letter. Mirzadeh
   6   Decl., Ex. E.
   7          4.       On April 8, 2022, DIRECTV sent a detailed response to Plaintiffs’ March
   8   22 letter, correcting Plaintiffs’ mis-reading of DIRECTV’s privilege log, offering to
   9   correct certain typos Plaintiffs identified in the log, and agreeing to reevaluate its
  10   privilege designation over certain entries. Kopczynski Decl., Ex. 1.
  11          5.       After spending multiple hours engaging with Plaintiffs, including across
  12   three separate meet-and-confer calls, and repeatedly urging Plaintiffs to identify with
  13   more specificity their privilege challenges, on April 29, 2022, DIRECTV produced at
  14   significant expense, an affiliation list, which contained the names and affiliations of each
  15   individual on DIRECTV’s privilege log. Id. ¶ 8. That document contained nearly 3500
  16   individual entries. Id. ¶ 8. & Ex. 2. On May 16, 2022, DIRECTV also served an updated
  17   privilege log correcting certain scrivener-type mistakes and reflecting DIRECTV’s
  18   updated privilege designation of certain documents. Id. at Ex. 3.
  19          6.       On June 6, 2022, DIRECTV further produced to Plaintiffs an updated
  20   privilege log which, at Plaintiffs’ request, added email subject fields for fully withheld
  21   emails and filenames for attachments and loose files—fields Plaintiffs seemingly have
  22   not actually used in their further challenges to DIRECTV’s log. Id. ¶ 9 & Ex. 4.
  23          7.       On July 15, 2022, Plaintiffs sent a new purported privilege log deficiency
  24   letter, lodging objections to more than 7,000 entries—almost a quarter of DIRECTV’s
  25   privilege log, just a day after filing a stipulation to extend discovery of third-party
  26   DIRECTV witnesses and just weeks before the close of fact discovery in this case.
  27   Mirzadeh Decl., Ex. F. That letter was deficient under Rule 37-1 because it contained
  28   widespread data issues making it impossible for DIRECTV to understand which entries
                                                    2
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   1   Plaintiffs were challenging and therefore failed to properly “identify each issue and/or
   2   discovery request in dispute.” See Local Rule 37-1. Kopczynski Decl. ¶ 10. Plaintiffs
   3   committed to providing an updated spreadsheet of their challenges to DIRECTV’s
   4   privilege log by July 25, and sent DIRECTV that spreadsheet on July 26. Id.
   5         8.     During this same time, DIRECTV has spent hundreds of hours
   6   interviewing DIRECTV’s data engineers and consultants in order to respond to the
   7   parties’ structured data questions, which now total over 300 (many of which include
   8   dozens of subparts and alternative options making one question in fact dozens of
   9   questions). Id. ¶ 11.
  10         9.     In addition, DIRECTV has engaged in extensive efforts to schedule
  11   depositions of DIRECTV’s witnesses. Over the course of the past few months,
  12   DIRECTV has spent several dozen hours tracking down a dozen witnesses Plaintiffs’
  13   intend to depose in their 30(b)(1) and 30(b)(6) capacities, six of whom are former
  14   employees and some of whom have not been at DIRECTV for more than a decade. Id.
  15   ¶ 11. DIRECTV spent countless more hours scheduling depositions for DIRECTV
  16   witnesses on dates that Plaintiffs’ originally told us they were available, only to have
  17   Plaintiffs request DIRECTV go back to each witness to find new dates because
  18   Plaintiffs’ (at least) three law firms were unable to accommodate any of their originally
  19   proposed dates. Id. Indeed, DIRECTV spent hours preparing a witness in his 30(b)(6)
  20   capacity, only to have Plaintiffs cancel his 30(b)(6) deposition on the week of his
  21   deposition due to Plaintiffs’ admitted unpreparedness. Id.
  22         In short, any suggestion by Plaintiffs that non-party DIRECTV has been anything
  23   but cooperative over the course of discovery in this case is demonstrably false.
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   1   Dated: July 29, 2022                       By: /s/Katrina Robson
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                                                 Attorneys for Non-Party DIRECTV, LLC
   7                                              and DIRECTV Holdings LLC
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